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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW

-HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;

MORGAN THOMPSON; JOHN DOES 1-4;

AMERICAN CORRECTIONAL ASSOCIATION;

JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS

1-3 EMPLOYEES OF AMERICAN CORRECTIONAL

ASSOCIATION; HEALTH ASSURANCE LLC AND

UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF

AMERICAN CORRECTIONAL ASSOCIATION DEFENDANTS

STATE OF MISSISSIPPI
COUNTY OF HARRISON

AFFIDAVIT OF STEVE CAMPBELL

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, STEVE CAMPBELL, who, after first being
duly sworn by me on his oath, did depose and state the following:

1. My name is STEVE CAMPBELL , and I am over the age of twenty-one (21) years.

I was a Captain with the Harrison County Sheriffs Office and I was the Captain for
the Professional Standards Unit for the Harrison County Adult Detention Center from

September, 2002 until January, 2008. | have personal knowledge of the matters and

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facts contained in this Affidavit and I am competent to testify to the matters stated
herein.

As Captain for the Professional Standards Unit, I was charged with the responsibility
of conducting internal administrative investigations and applicant background
development. The Professional Standards Unit of the Harrison County Adult
Detention Center has the primary responsibility ofinvestigating complaints of alleged
employee misconduct and complaints of excessive use of force by Harrison County
Sheriff's Department officers. If the alleged incident occurred in the Harrison
County Adult Detention Center booking department, my usual and customary
practice would be to view surveillance recordings of the booking room at the
applicable time.

During the relevant time of McBay’s arrest and booking into the Harrison County
Adult Detention Center the surveillance of the booking department was comprised
of both a VHS recording system and a Digital recording system.

As it relates to the VHS system, this system was not a highly technical system and
was purchased form a local retail store with the intent for use as a backup system, and
subsequently lasted ten (10) years. Therefore, the clarity of the recordings are not of
the highest quality.

In regards to the set up of the VHS system, the system is comprised of two (2)
recorders, both which have four (4) camera angles. Each recorder would only last a
specific period of time and the tape would pop out at the end of that time period and

it was the responsibility of the designated booking officer to replace the tape.

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6. Ifthe tape popped out and no replacement tape was inserted, then subsequently there
would be footage missing to that time frame.
I certify the above declaration is true and correct under penalty of perjury.
LIE

A ffient/Steve Campbell
Harrison County,Mississippi

Sworn to and subscribed before me on this the Ao Alt, of September, 2009.

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